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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




 UNITED STATES OF AMERICA, et al.,
                            Plaintiffs,
                    v.                                 Case No. 1:24-cv-03973 (AS)(SLC)
                                                       [rel. 1:24-cv-03994 and 1:24-cv-04106]
 LIVE NATION ENTERTAINMENT, INC.
 and TICKETMASTER L.L.C.,
                    Defendants.




                         DECLARATION OF DAVID R. MARRIOTT

       I, David R. Marriott, declare as follows:

       1.      I am a partner at the law firm of Cravath, Swaine & Moore LLP, counsel for

Defendants Live Nation Entertainment, Inc. and Ticketmaster L.L.C. (“Defendants”). My office

is located at Two Manhattan West, 375 Ninth Avenue, New York, NY 10001. I have personal

knowledge of the facts stated in this Declaration and, if called as a witness, I can and will testify

competently to these facts under oath.

       2.      I submit this Declaration in support of Defendants’ Motion To Transfer Venue.

       3.      Attached as exhibits to this Declaration are true and correct copies of the

following documents:
         Case 1:24-cv-03973-AS            Document 188     Filed 07/19/24       Page 2 of 2




 Exhibit                                         Description

    1         Plaintiff United States’ Response to Public Comments Pursuant to the Antitrust
              Procedures and Penalties Act, 15 U.S.C. § 16(b)-(h) (June 21, 2010)
              Remarks of Christine A. Varney, Assistant Attorney General, Antitrust Division,
    2
              U.S. Department of Justice, The Ticketmaster/Live Nation Merger Review And
              Consent Decree In Perspective (Mar. 18, 2010)
    3         Amended Complaint, United States et al. v. Ticketmaster Entertainment, Inc. and
              Live Nation, Inc., Case No. 1:10-cv-00139-RMC (D.D.C. Jan. 29, 2010)
    4         Final Judgment, United States et al. v. Ticketmaster Entertainment, Inc. and Live
              Nation, Inc., Case No. 1:10-cv-00139-RMC (D.D.C. July 30, 2010)
              Plaintiff United States’ Competitive Impact Statement relating to Proposed Final
    5
              Judgment, United States et al. v. Ticketmaster Entertainment, Inc. and Live
              Nation, Inc., Case No. 1:10-cv-00139-RMC (D.D.C. Jan. 25, 2010)
              Plaintiff United States’ Motion To Modify Final Judgment and Enter Amended
    6
              Final Judgment, United States et al. v. Ticketmaster Entertainment, Inc. and Live
              Nation, Inc., Case No. 1:10-cv-00139-RMC (D.D.C. Jan. 8, 2020)
              Plaintiff United States’ Memorandum of Law in Support of Motion To Modify
    7         Final Judgment and Enter Amended Final Judgment, United States et al. v.
              Ticketmaster Entertainment, Inc. and Live Nation, Inc., Case No. 1:10-cv-00139-
              RMC (D.D.C. Jan. 8, 2020)
    8         Amended Final Judgment, United States et al. v. Ticketmaster Entertainment, Inc.
              and Live Nation, Inc., Case No. 1:10-cv-00139-RMC (D.D.C. Jan. 28, 2020)
              U.S. Department of Justice Press Release: Justice Department Will Move to
    9
              Significantly Modify and Extend Consent Decree with Live Nation/Ticketmaster
              (Dec. 19, 2019)
              U.S. Department of Justice Press Release: Justice Department Sues Live Nation-
    10
              Ticketmaster for Monopolizing Markets Across the Live Concert Industry (May 23,
              2024)
    11        Final, Corrected Brief of Appellant United States of America, U.S. v. AT&T, Inc.,
              No. 18-5214 (D.C. Cir. 2019)

         4.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



         Dated: July 19, 2024
                                                      Respectfully submitted,




                                                  David R. Marriott



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